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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                             04/04/2022
                                                                       :
EMMA MERCADO,                                                          :
                                                                       :
                                    Plaintiff,                         :
                                                                       :             21-cv-3914 (LJL)
                  -v-                                                  :
                                                                       :                 ORDER
EMUNAH MANAGEMENT CORP. et al.,                                        :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The Court has approved the parties’ settlement in this case. Accordingly, it is hereby

ORDERED that this action is DISMISSED without costs and without prejudice to restoring the

action to the Court’s calendar, provided the application to restore the action is made within thirty

(30) days of this Order. Any application to reopen filed after thirty (30) days from the date of this

Order may be denied solely on that basis. Any pending motions are DISMISSED as moot, and

all conferences and deadlines are CANCELLED.



        SO ORDERED.

Dated: April 4, 2022                                       __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
